          Case 4:20-cv-00055-SDG Document 27 Filed 11/24/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                    ROME DIVISION




  TODD TAYLOR,

                        Plaintiff,                      CIVIL ACTION FILE

  vs.                                                   NO. 4:20-CV-55-SDG

  FIORE INTERNATIONAL ATLANTA,
  INC.,

                        Defendant.


                                      JUDGMENT

        This action having come before the court, Honorable Steven D. Grimberg, United

States District Judge, for consideration, it is

        Ordered and Adjudged that the action be DISMISSED with prejudice pursuant to

Fed. R. Civ. P. 41(b) and LR 41.3(A), NDGa.

        Dated at Rome, Georgia, this 24th day of November, 2020.

                                                        JAMES N. HATTEN
                                                        CLERK OF COURT


                                                  By:    s/ Jordyn Dobbins
                                                        Deputy Clerk

Prepared, Filed, and Entered
in the Clerk=s Office
November 24, 2020
James N. Hatten
Clerk of Court

By:     s/ Jordyn Dobbins
        Deputy Clerk
